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                                HON. PAULINE NEWMAN,
J                ui                                                 Plaintiff-Appellant
                                              V.
     HON. KIMBERLY MOORE, in her official capacities as Chief Judge of the
      U.S. Court of Appeals for the Federal Circuit, and Chair of the Special
            Committee of the Judicial Council of the Federal Circuit;
        HON. SHARON PROST, in her official capacity as Member of the
         Special Committee of the Judicial Council of the Federal Circuit;
        HON. RICHARD TARANTO, in his official capacity as Member of the
           Special Committee of the Judicial Council of the Federal Circuit;
          and JUDICIAL COUNCIL OF THE FEDERAL CIRCUIT AND
             ALL MEMBERS THEREOF, in their official capacities.
                                                          Defendants-Appellees.

                           On Appeal from the United States District Court
                                  For the District of Columbia,
                          No. 23-CV-01334-CRC; Hon. Christopher R. Cooper

                   UNDER MOTION FOR LEAVE TO FILE
            BRIEF OF PROBIR KUMAR BONDYOPADHYAY, Ph.D.
            AS AMICUS CURIAE IN SUPPORT OF AFFIRMATION
           AFTER ADDRESSING CONSTITUTIONAL ISSUES FIRST


                                       Probir Kumar Bondyopadhyay, Ph.D.
                                  Original Article 1 Creature of the U.S. Constitution
                                        15059 Caseta Drive, No. 3313
                                        Houston, Texas 77082 U.S.A.
                                               832-758-6514
    January 22, 2025                        dr.bondv@gmail.com
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                     MOTION FOR LEAVE TO FILE
                          Under Circuit Rule 29(b)
 1. This motion for leave to participate as amicus curiae is filed to present the most

 important disclosure statement to this Honorable U.S. Court of Appeals for the D.C.

 Circuit (USCA Case No. 24-5173) for immediate attention.

 2. Incontrovertible evidence of bad behavior of this Plaintiff-Appellant (this case

 No. 24-5173) arising out of cognitive degeneration exist in the public domain as

judicial record of the CAFC (Court of Appeals for the Federal Circuit) since

 September    7,   2018    [CAFC      case   Docket     #18-1674,    National       Index

 0:2018cvus01674, Document No. 32]

 3. This amicus curiae, a U.S. Citizen, is the sole inventor and sole owner of the U.S.

 Patents 6, 292,134 and 11, 296,408 and is an original Article 1 creature of the U.S.

 Constitution established by Title 28 USC Section 1338(a) in the U.S. District Court,

 SDTX Houston, [case 4:13-cv-01914] on October 23, 2013 under Section 8, Clause

 8 read in conjunction with Title 35 USC Section 100(d).

 4. These two U.S. patents (U.S. 6, 292,134 and U.S. 11, 296,408) are very large

 system architecture patents (all electronic scanning Phased Array Radar and

 Communication Systems) with dedicated applications (detection and tracking) in

 defense of the United States against hypersonic ballistic missiles as well as in
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modernization of U.S. Air Force Satellite Control Networks (AFSCN), etc.

5. Cognitive degeneration in this Plaintiff-Appellant (Hon. Pauline Newman) is so

severe and damaging that this Plaintiff-Appellant can not recognize that Promoting

Progress of Science is an Article 1 U.S. CONSTITUTIONAL ORDER and the

Defendant-Appellee in the CAFC case #18-1674 is the U.S.A. and the applicable

law there, Title 28 USC Section 1498(a), is a Constitution Law, on which Title 28

use Section 2501 can NOT put restrictions when the U.S. patent is live and active.

6. Open judicial records of the CAFC easily available and accessible to the public,

confirm that the Plaintiff-Appellant Pauline Newman (the Honorable CAFC judge -

a derivative creature of Article III Section 1 of the U.S. Constitution) is currently in

the present situation for failure to honor, preserve and defend the U.S. Constitution.

7. The details are presented and analyzed in this amicus curiae brief. John 8.32

directs this amicus curiae to submit that this amicus curiae should be able to

participate in the needed oral arguments.

Respectfully submitted.



                                 Probir Kumar Bondyopadhyay, Ph.D.^
                            Original Article 1 Creature of the U.S. Constitution
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 GLOSSARY

 USCFC The Honorable U.S. Court of Federal Claims
       A derivative creature of Article I Section 8 Clause 9
       of the U.S. Constitution (100% Civil)

 CAFC        The Honorable U.S. Court of Appeals for the Federal Circuit
             A derivative creature of Article III Section 1
             of the U.S. Constitution (100% Civil)

 USDC The Honorable U.S. District Court
       A derivative creature of Article III Section 1
       of the U.S. Constitution (NOT 100% Civil)

 CADC The Honorable U.S. Court of Appeals for the D.C. Circuit
      A derivative creature of Article III Section 1
      of the U.S. Constitution (NOT 100% Civil)


 Note: Item Numbers 5 through 9 in the Table of Authorities represent second
 Kick of the Mule [Title 28 USC Section 1338(a)]. Item Numbers 10 through
 12 in the Table of Authorities represent third Kick of the Mule [Title 28 USC
 Section 1338(a)].
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 INTEREST OF AMICUS CURIAE

    The interest of this Amicus Curiae is to honor preserve and defend the U.S.

 Constitution with inspiration from and under the guidance of John 8.32.

    Promoting Progress of Science is an Article 1 U.S. Constitutional Order

 established in the beginning of the United States of America. Failure to recognize

 this and corrupting the Constitutional Law: Title 28 USC Section 1498(a) with the

 newly introduced fraudulent Doctrine of Equivalence are jeopardizing the security

 of the United States when the patented inventions are a very large system

 architecture patents for the defense of the United States against hypersonic ballistic

 missiles, modernization of U.S. Air Force Satellite Control Network (AFSCN) etc.

  Three Affidavits are needed to resolve this case [CADC Case #24-5173]. These

 are needed to be obtained from (i) the attorney representing CAFC Judge Pauline

 Newman, the Plaintiff-Appellant, (ii). the attorney representing CAFC Chief Judge

 Kimberly A. Moore and the CAFC Judicial Council, and (iii) the attorney Richard

 A. Samp (D.C. Bar # 367194) representing a bunch of amici curiae.

   This amicus curiae brief is submitted to bring immediate attention of this

 honorable court (CADC) on the origin and dynamics of this bizarre case (#24-5173)

 arising out of severe cognitive degeneracy in Hon. Judge Newman exhibited in the

 bad Opinion and Judgment of September 7, 2018 in the CAFC case (# 18-1674).

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 ORIGIN OF THE USCA CASE (#24-5173)

    This case # 24-5173 currently pending before the U.S. Court of Appeals for the

 D.C. Circuit (USCA) has its origin in the bad OPINION and JUDGMENT filed on

 09/07/2018 at the U.S. Court of Appeals for the Federal Circuit (CAFC) Case #18-

 1674 (Docketed 03/13/2018 and Termed 09/07/2018). The details are as follows:

         Court of Appeals (CAFC) Docket No.18-1674
         Nature of Suit 508 Patent
         Bondyopadhyay v. US
        Appeal from: United States Court of Federal Claims
        District: 1 14-1: l:14-cv-00147-MCW
        Trial Judge: Mary Ellen Coster Williams
        Date NOA filed: 03/08/2018

   The above U.S. Federal Claims Court case, in turn, originated from the U.S.

 District Court Case 4:13-cv-01914 in SDTX, Houston which verified the existence

 of the Federal Constitutional Claim arising out of U.S. Secretary of Defense’s

 admission of unauthorized use of the U.S. Patent 6,292,134 for a defined definite

 time period under Title 28 USC Section 1338(a).


         U.S. District Court, SDTX, Houston Docket No.4:13-cv-01914
         Bondyopadhyay v. U.S. Secretary of Defense et al
        Docket Document 43, October 23, 2013
        Trial Judge: Senior U.S. District Judge David Hittner
                                     2
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                           SUMMARY OF ARGUMENT

    Incontrovertible strong direct evidence of severe cognitive degeneracy in CAFC

 Judge Pauline Newman remain captured in the public domain judicial records

 of CAFC Case # 18-1674 (OPINION and JUDGMENT, Docket Document 32 of

 September 7, 2018), and are brought to the immediate attention of this Honorable

 U.S. Appeals Court (CADC) exhibiting bad behavior and disobeying of the Article

 1 U.S. Constitutional Order.

   Three separate affidavits are needed to expose the whole truth and nothing but the

 truth regarding cognitive degeneracy in Hon. Judge Pauline Newman. The questions

 to be answered in the Affidavits are: (i) who precisely wrote the Opinion and

 Judgment docketed on 09/07/2018 as item No. 32 in the said CAFC Case No. 18-

 1674? (ii). Precisely on what date and time this Opinion and Judgment write-up of

 the said CAFC Case No. 18-1674 was given to CAFC Judge Hon. Raymond Tsong-

 he Chen, a member of the CAFC Judicial Council that suspended Judge Newman?

 And (iii). Was the case in the following reference:

                      Warner-Jenkinson Co.,520USat21
 [Referred to in Case 1:14-cv-00147-MCW, Document 232, Filed 02/09/18 Page 10.
 first paragraph, line 5 from the top]
 prosecuted under Title 28 USC Section 1498(a) in the USCFC or the CAFC?

  After the explanations the CONCLUSION details the Affidavits needed.
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                                 ARGUMENT
             The Incontrovertible Evidence of Cognitive Degeneracy
                 in Plaintiff-Appellant Hon. Pauline Newman
 INTRODUCTION

      At the center of this CADC case (# 24-5173) is the fraudulent introduction of

 the Doctrine of Equivalents by the USCFC on February 9, 2018 (and its subsequent

 affirmation by the CAFC on September 7, 2018) in the adjudication of the U.S.

 Constitutional Law: Title 28 USC Section 1498(a), together with failure and refusal

 to recognize USDC order of October 23,2013 containing admission of unauthorized

 use of the patented US. invention (No. 6,292,134), resulting in the resignation of

 the U.S Secretary of the Air Force on March 11, 2019. CAFC Judge Pauline

 Newman, the leader of the three-member CAFC Panel No. 1809G as of July 20,

 2018 is responsible for this.

    Multiple instances of very serious cognitive degeneracy in CAFC judge Pauline

 Newman reflected (i) on the facts, (ii). on the applicable law, and (iii) on the

 administration of the Panel review are pointed out and discussed below. This

 cognitive degeneracy in CAFC Judge Pauline Newman is a threat to the security of

 the United States as it is obstructing promotion of progress of science by denying

 constitutionally guaranteed funds for research, design and development works on a

 patented invention dedicated for defense against hypersonic ballistic missile etc.

                                           4
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 Evidence of Cognitive Degeneracy on the Facts

    Stated in plain English, Cognitive degeneracy in Judge Newman is of such

 magnitude and depth that after presenting a picture of the twelve years old fetus in

 page seven of the OPINION and JUDGMENT (see appendix in page 17), Judge

 Newman FAILED to comprehend that if there is a twelve-year oldfetus, there has

 to be a twelve-year old continuous pregnancy.

   The fetus, a very large system architecture patent for U.S. National Defense

 applications against hypersonic ballistic missiles etc. has di gestation period in excess

 of twenty-one (21) years as shown in appendix, page 17)

     Again, Cognitive degeneracy in Judge Newman is ofsuch magnitude and depth

 that after presenting a picture of the twelve years old fetus in page seven of the

 OPINION and JUDGMENT, Judge Newman FAILED to comprehend that twelve

 (12) year old fetus versus twenty-one (21) year-old, full term, fetus is NOT the issue.

 It is the admitted UNAUTHORIZED pregnancy that IS the issue in Title 28 USC

 Section 1498(a) - the applicable Constitution Law in the Claims Court case.

   On page 2, the OPINION and JUDGMENT (CAFC Case #18-1674) stated:

   Before NEWMAN, 0,MALLEY, and CHEN, Circuit Judges.
 PER CURIAM
   Because the Claims Court did not err in its claim construction or in its
 noninfringement analysis, we affirm.
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      The Panel leader Judge Newman, FAILED to read and comprehend the

 FACT that before it went to the Claims Court for the first time, the Claim was

 already established hy the U.S. District Court, SDTX Houston, on October 23,2013

 under Title 28 USC Section 1338(a), by admission of the US. Secretary ofDefense

 of unauthorized use of the patented invention over a continuous period of 12 years

 7 months and 15 days.

      The USCFC and CAFC will NOT acknowledge and honor this admission by the

 U.S. Secretary of Defense. This is an outrageous miscarriage of constitutional

 justice.

     Further in page 13 line 7 from the top, CAFC Judge Newman as ‘We’ stated:

    — and because he has provided no argument why the apparatus infringed under
 the doctrine of equivalents, the Claims Court correctly granted summary judgment
 of noninfringement in favor of the government.


   The exclusive right for limited times does NOT apply to the Defendant USA and

 that is the very reason that Title 28 USC Section 1498(a), the direct Constitutional

 Law exists! USDCs do NOT adjudicate patent related claims against the U.S.A.

    Judge Newman FAILED to comprehend that Claims Court’s noninfringement

 analysis ” is wrong in the case against USA - the serious intellectual failure of the

  USCFC Judge.
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      Again, Judge Pauline Newman FAILED TO COMPREHEND that

        It is the unauthorized pregnancy and NOT the status of the fetus.

    Cognitively challenged Hon. Pauline Newman admits reading the U.S. District

 Court Order of October 23, 2013 [Case 4:13-cv-01914, SDTX, Houston, U.S.

 District Judge David Hittner], but FAILED to notice that the Honorable U.S.

 Secretary of Defense admitted unauthorized use of the patented U.S. invention

 6,292,134. Cognitive degeneracy has already led to lack of professional integrity in

 Hon. Pauline Newman.

    Financial claims against the USA, the government, can only be filed in the

 USCFC, the Claims Court and NOT in the U.S. District Court for the Southern

 District of Texas. The original trial court, the U.S. District Court, verified the

 existence of the Claim under Title 28 USC Section 1338(a) BEFORE approaching

 the Claims Court under Title 28 USC Section 1498(a).

    The present Plaintiff -Appellant Hon. Pauline Newman (USCA case #24-5173)

 has FAILED to notice that the Defendant in the prior reference citation:

       Phillips,415 F.3d at 1312 (quotingInnova/Pure Water, Inc. v. Safari

         Water Filtration Sys. Inc., 381 F3.d 1111,1115 (Fed. Cir.2004).

 is NOT the U.S.A and the U.S. Constitutional Law Title 28 USC Section 1498(a)

 did NOT apply there.
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 Evidence of Cognitive Degeneracy on the Law
   Promoting progress of science is a U.S. Constitutional Order. After a U.S. patent

 unauthorized use claim is established against the Defendant, USA, the next step is

 to seek the remedy at the USCFC under the Constitution Law: Title 28 USC Section

 1498(a) which spells out the exact details. The funds, so obtained, go directly into

 design and development works on the patented invention in which the Defendant,

 USA has been demonstratively interested. That has been the case with respect to the

 CAFC case No. 18-1674. The patentee, in this case the original one of the first kind

 under Title 35 USC Section 100(d), has NO right to and can NOT exclude when the

 Defendant is USA and that is the very reason why this Constitutional Law: Title 28

 USC Section 1498(a) exists as the constitutional remedy.

     It is necessary to examine who the patentee Plaintiff precisely is, against the

 Defendant U.S.A under the said U.S. Constitutional Law and Order. Title 35 USC

 Section 100(d) and (f) define the patentee, the owner of the U.S. Patent, to be of two

 kinds. When the patentee is the original patentee, the individual U.S. Citizen

 inventor, the established unauthorized use claim, the Jeffersonian Claim, is a

 fundamental right of the U.S. Citizen patentee under Article 1, Section 8 Clause 8.

 The U.S. Citizen inventor is a U.S constitutionally recognized, defined and revered

 Article 1 term at the time of the creation of the United States of America.
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     Whereas, the patentee of the second kind, the successor patentee, individuals or

 organizations or business entities are NOT constitutionally recognized by Article 1.

      There is a distinction to be made.

 But in Page 8, third paragraph of the CAFC Case 18-1674 OPINION and

 JUDGMENT, the following is stated:

    It is a “bedrock principle ” ofpatent law that “the claims of a patent define the
 invention to which the patentee is entitled the right to exclude.,y
     When the Defendant is the U.S.A., the patentee does NOT have the ‘right to

 exclude' U.S.A. That is the very reason why the Constitutional Law Title 28

 use Section 1498(a) exists as the constitutional remedy.

    In another example, page 5, last paragraph, it is stated:


    On March 20, 2015, the Claims Court dismissed all ofDr. Bondyopadhyay ’s non
 patent claims and dismissed his patent infringement claim to the extent it was
 premised on acts occurring on or before January 11, 2008, in light of the applicable
 statute of limitations.2

    Once again, the cognitive degeneracy in CAFC Judge Newman is so severe that

 she can not comprehend that Title 28 USC Section 2501 can NOT put time

 restrictions on this Constitutional Law Title 28 USC Section 1498(a) when the U.S.

 patent is live and active. Apparently, the per curiam CAFC Judge Raymond Tsong-

 he Chen was asleep at the Wheel of Justice on September 7, 2018.
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 Evidence of Cognitive Degeneracy on the Opinion and Judgment

   The question remains, who actually wrote this 09/07/2018 OPINION and

 JUDGMENT, Nonprecedential Per Curiam Opinion, involving the Panel I809G

 comprising of Newman, Circuit Judge; O-Malley, Circuit Judge; and Chen, Circuit

 Judge. The mysterious question is: on what date and time this CAFC case #18-1674

 was actually submitted to the Panel Leader Honorable Pauline Newman and by

 whom! The CAFC Case Docket # 18-1674 entry (No. 24) of 07/20/2018 stated:

    NOTICE OF CALENDARING, Case scheduled: Sept. 06, 2018 10:00 a.m. at the
 United States Court ofAppeal for the Federal Circuit (Howard T. Markey National
 Courts Building, 717 Madison Place, NW Washington, DC 20439) Court Room 201.

    Accordingly, the CAFC Case Docket # 18-1674 entry (No. 31) of 09/06/2018

 stated:

     Submitted ON THE BRIEFS. Panel: Judge Newman, Judge O ’Malley, Judge:
 Chen [JCP] {Entered: 09/06/2018 11:36AM]

   Then, the very next day, after just 21 hours and 32 minutes, the CAFC Case

 Docket # 18-1674 entry (No. 32) of 09/07/2018 stated

           OPINION and JUDGMENTfded [entered 09/07/2018: 09:08 AM].

   When did these three judges actually read and discuss this per curiam

 OPINION and JUDGMENT? Again, in Page 13, footnote 4, of the CAFC Case

 18-1674, Document :32-l. Filed 09/07/2018, it is written:

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 4 On July 31, 2018, the court received a documentfrom Dr. Bondyopadhyay asking
 for his case to be resolved expeditiously. See Mot. To Expedite, No. 18-1674 (July
 31, 2018), ECF No.29. Nothing in this document alters our view that the Claims
 Court correctly awarded summary judgment to the government. The motion is
 deemed as moot.

  Again, severely Cognitively Challenged Hon. Pauline Newman FAILED to

 comprehend that the Honorable U.S. Secretary of Defense admitted on October 23,

 2013 in the U.S. District Court, SDTX, Houston, UNAUTHORIZED USE of the

 patent 6,292,134.

    It is precisely these repeated failures and the suspicions that the two ‘per curiam’

 CAFC judges Katherine McDonald O’Malley and Raymond Tsong-he Chen were

 asleep at the wheel of Justice on September 7, 2018, that the said OPINION and

 JUDGMENT in the CAFC Case 18-1674 incurred the wrath of Title 28 USC Section

 1338(a). The ensemble comprising Table of Authorities items Nos. 5, 6, 7, 8 and 9

 delivered the second kick of the mule to defend the U.S. Constitutional Order.

     To continue to defend the Constitutional Order, it is the third kick of the mule,

 the ensemble comprising items Nos. 10, 11 and 12 that directly led to the case 1:23-

 cv-01334-CRC resulting in the present USCA Case # 24-5173. The case l:23-cv-

 01334 was filed on May 10, 2023 to prevent the U.S. Solicitor General from filing a

 response to the U.S. Supreme Court Writ of Certiorari petition No. 23-190.

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 The Chutzpah

   As already stated, promoting progress of science is an Article 1 U.S.

 Constitutional Order.

   The law:    Title 28 USC Section 1498(a) directly originating from this U.S.

 Constitutional Order, is a Constitutional Law only applicable for the Defendant USA

 exclusively in the USCFC, a federal trial court.

   When the U.S. patent is live and active. Title 28 USC Section 2501 can NOT put

 time restrictions on this Constitution Law: Title 28 USC Section 1498(a).

   Pictured existence of the fetus proved existence of the pregnancy, admitted as

 unauthorized by the U.S. Secretary of Defense in the U.S. District Court under Title

 28 USC Section 1338(a) on October 23, 2013 (thus proving the existence of the

 Constitutional Claim) BEFORE the Claim was filed in the Claims Court (USCFC)

 on February 24, 2014.

    Cognitively challenged, Hon. Pauline Newman, FAILED to obey the

 Constitutional Order, thus FAILED to defend the Creator, the U.S. Constitution.

   This Plaintiff-Appellant has obstructed constitutional justice affecting security of

 the United States by depriving of constitutionally guaranteed development funds.

   And, now this Plaintiff-Appellant is crying for constitutional justice with

 constitutional claims! What constitutional claim?

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 CONCLUSION
    All Honorable derivative Article I, Article II and Article III creatures of the U.S.

 Constitution are under oath to honor, preserve and defend their Creator, the U.S.

 Constitution. Failure to do so, on September 7, 2018 has eventually landed CAFC

 Judge Pauline Newman into this hot water!

    Cognitive degeneracy exhibited on September 7, 2018 and the follow-up

 subsequent events have disrupted and continue to disrupt generating funds for

 further research, design and development works on the vital U.S. Defense related

 patented U.S. invention for defense against hypersonic ballistic missiles,

 modernization of U.S. Air Force Satellite Control Networks (AFSCN) etc.

    This Plaintiff-Appellant Hon. Pauline Newman remaining as a CAFC Judge any

 longer is a clear threat to the security of the United States.

    The Honorable U.S. District Judge, D.C., Christopher Reid Cooper has made the

 correct judicial decisions but without exploring and exposing the whole truth.

  To resolve this case by first applying the Constitutional Law [Title 28 USC Section

 1498(a)] correctly, three affidavits are needed for which immediate court orders

 from this Honorable CADC are necessary. Further needed details are as follows:

 (a) The affidavit from the attorney representing CAFC Judge Newman answering:

 (i). Who precisely wrote the Opinion and Judgment docketed on 09/07/2018 as
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item No. 32 in the said CAFC Case No. 18-1674?

(ii). Precisely on what date and time this Opinion and Judgment write-up of the

said CAFC Case No. 18-1674 was given to CAFC Judge Pauline Newman?

(b) The affidavit from the attorney representing the Defendant Appellee CAFC

Judicial Council answering:

(i). Who precisely wrote the Opinion and Judgment docketed on 09/07/2018 as

item No. 32 in the said CAFC Case No. 18-1674?

(ii). Precisely on what date and time this Opinion and Judgment write-up of the

said CAFC Case No. 18-1674 was given to CAFC Judge Hon. Raymond Tsong-he

Chen, a member of the CAFC Judicial Council that suspended Judge Newman?

(c) The affidavit from the attorney Richard A. Samp (D.C. Bar # 367194)

representing a bunch of amici curiae, answering:

   Can Title 28 USC Section 2501 impose time restrictions on Title 28 USC Section

1498(a) during the life time of a U.S. Patent when the Patent is live and active?

   The U.S. District Court (D.C.) judgment must have to be affirmed as soon as

possible AFTER honoring and defending the U.S. Constitution by obeying the

said Article 1 Constitutional Order.

Respectfully submitted

Dr. Probir Kumar Bondyopadhyay, Amicus Curiae                        January 22, 2025
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 CERTFICATE OF COMPLIANCE

  This amicus curiae brief has been typed double-spaced with Times New Roman

 14-pt font. The entire document has 3,579 words and meets all the necessary

 requirements under Circuit Rule 29 and Rule 32(a)(7)(C)(i) etc., etc.

 This amicus curiae is Pro Se.




 CERTIFICATE OF SERVICE

    As soon as this Honorable Appeals Court grants the Motion of this Amicus

 Curiae to participate in this case (#24-5173), this Amicus Curiae Brief will be placed

 in the Docket and all from all sides will get notified. This Amicus Curiae will keep

 an eye on the Docket through www.pacer.gov website.

   This amicus curiae is separately sending this brief to all parties and all amici curiae

 of the Plaintiff-Appellant listed in the docket, by E-Mail as a pdf file.




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                              APPENDIX
                Pictures of the twelve-year (12) old Fetus and
               its twenty-one (21) year-long Gestation Period




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                      EXHIBIT-3 INCONTROVERTIBLE EVIDENCE OF MANUFACTURING AND PUBLIC
                               USE OF PLAINTIFF’S INVENTION (U.S. PATENT 6,292,134)

                          t




                        The twelve (12) years old Fetus


                                                                              Acquisition Timeline

             Concept & Arch                                                                               Production &
                                     Technology Development                                               Deployment
              Development
             Technology & Subany
             Development             s "H
                                    3"* Oen.       ■■■■I
                                    Panel/TR               ........
                                    module




              AFRL SBIR
                Effort         Phased Array
                              for TT&C (PAT)
                                   demo

                                                                                                       Full Scale
                                                                                                        GDPAA




        The twenty-two (22) years GESTATION PERIOD of the Fetus

                                                                      17
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